             Case 2:09-cr-00096-JAM Document 165 Filed 06/19/15 Page 1 of 2


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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:09-CR-0096 JAM
12                                Plaintiff,            STIPULATION REGARDING CONTINUANCE OF
                                                        SUPERVISED RELEASE VIOLATION HEARING;
13                         v.                           FINDINGS AND ORDER
14   JOSEPH SILVA,                                      DATE: June 23, 2015
                                                        TIME: 11:00 a.m.
15                               Defendant.             COURT: Hon. John A. Mendez
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for an evidentiary hearing on June 23, 2015.

21          2.     By this stipulation, the parties now move to continue the status conference until July 28,

22 2015 at 11:00 a.m.

23          3.     The parties agree and stipulate, and request that the Court find the following:

24                 a)      On or about April 28, 2015, the government provided the Court and defense

25          counsel with documents in support of two of the four charges in the Petition for Warrant or

26          Summons for Offender Under Supervision. Dkts. 122, 159.

27                 b)      As noted in the Petition, additional evidence will be introduced in the form of

28          testimony from United States Probation Officer Philip Mizutani. Officer Mizutani is unavailable


      STIPULATION REGARDING CONTINUANCE OF              1
      SUPERVISED RELEASE VIOLATION HEARING
             Case 2:09-cr-00096-JAM Document 165 Filed 06/19/15 Page 2 of 2


 1          to testify on June 23, the currently scheduled date for the evidentiary hearing. He is also

 2          unavailable on July 7, 2015. Counsel for the government is unavailable on June 30, 2015.

 3                 c)       Counsel for defendant desires additional time to consult with his client and to

 4          discuss potential resolutions. Counsel for defendant is also in the process of preparing a motion

 5          for bail review to be presented in Magistrate Court.

 6                 d)       The parties believe that failure to grant the above-requested continuance would

 7          deny defense counsel the reasonable time necessary for effective preparation, taking into account

 8          the exercise of due diligence, and would also deny the government the opportunity to introduce

 9          evidence due to the unavailability of the Probation Officer.

10          4.     For the foregoing reasons, the parties hereby request that the June 23, 2015 date for the

11 evidentiary hearing be vacated and reset to July 28, 2015.

12          IT IS SO STIPULATED.

13
     Dated: June 19, 2015                                    BENJAMIN B. WAGNER
14                                                           United States Attorney
15
                                                             /s/ JOSH F. SIGAL
16                                                           JOSH F. SIGAL
                                                             Special Assistant U.S. Attorney
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18
     Dated: June 19, 2015                                    /s/ JOSH F. SIGAL for
19                                                           KYLE KNAPP
20                                                           Counsel for Defendant
                                                             Joseph Silva
21

22

23                                          FINDINGS AND ORDER

24          IT IS SO FOUND AND ORDERED this 19th day of June, 2015.

25
                                                      /s/ John A. Mendez
26                                                    THE HONORABLE JOHN A. MENDEZ
                                                      UNITED STATES DISTRICT COURT JUDGE
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      STIPULATION REGARDING CONTINUANCE OF               2
      SUPERVISED RELEASE VIOLATION HEARING
